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                   EXHIBIT A
 Settlement Agreement Between Plaintiff Gina Kase and
 Defendants Serenity Homecare, Inc. and Norene Vorhis
             Case No. 15-CV-06760-CJS-MWP
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                MUTUAL RELEASE AND SETTLEMENT AGREEMENT

        THIS MUTUAL RELEASE AND SETTLEMENT AGREEMENT (“Agreement”) is
made and entered into this _____ day of _______________, 20___, by and between Gina Kase
(“Plaintiff”) and Serenity Homecare, Inc. and Norene Vorhis, n/k/a Norene Ryan, in her official
and individual capacity (collectively referred to herein as “Defendants”), each individually
referred to hereafter as a “Party” and collectively referred to hereafter as “the Parties.”

        WHEREAS, Plaintiff filed a lawsuit in the United States District Court for the Western
District of New York (the “Court”) under Case No. 6:15-cv-06760 alleging that she was not
exempt under the Fair Labor Standards Act’s companionship exemption due to the nature and
location of the particular work she performed for Defendants’ clients during her employment
with Defendants, which ended in 2014 (the “Action”) and that Defendants owed her unpaid
wages and compensation for statutory labor law violations;

        WHEREAS, it is Defendants’ position that Plaintiff was properly classified as exempt
under the companionship exemption, and it has denied all of Plaintiff’s allegations as well as any
and all wrongdoing;

       WHEREAS, after substantial discussion between the Parties’ counsel, the Parties
reached a settlement of the action, which is contingent upon, and subject to, the Court’s approval
and dismissal of the Action;

       WHEREAS, without any admission of liability or wrongdoing whatsoever, the Parties
wish to resolve and settle any and all disputes and controversies between them, including, but not
limited to, all issues relating to Plaintiff’s Complaint, and the employment of Plaintiff by
Defendants.

        NOW, THEREFORE, with the intent to be legally bound hereby, and in consideration
of the mutual obligations and undertakings of the Parties as set forth in this Agreement, the
Parties agree to settle the dispute between them as follows:

1.     COURT APPROVAL. This Agreement is subject to, and contingent upon, the Court’s
       approval of the settlement reflected in this Agreement and the with-prejudice dismissal of
       the Action. If the Court does not approve the settlement reflected in this Agreement and
       dismiss the Action with prejudice, the Parties will make all good efforts to resolve the
       objections raised by the Court, and if the Parties are unable to resolve the objections after
       good-faith consultation, this Agreement shall be null and void. The Parties shall
       cooperate in the preparation and filing of all documents that may be necessary for the
       Court to approve the Parties’ settlement and dismiss the Action with prejudice.

2.     CONSIDERATION

       a. Defendants shall pay Plaintiff and her attorneys a total sum of Eight Thousand
          Dollars ($8,000.00) (hereinafter the “Settlement Amount) as follows:
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           i.     Three Thousand Hundred Dollars ($3,000.00), which represents attorneys’
                  fees and costs incurred by Plaintiff. Defendants shall pay this amount by
                  installment checks payable to “Empire Justice Center.” Defendants will issue
                  Empire Justice Center an IRS Form 1099 for this payment.

          ii.     Five Thousand Dollars ($5,000.00), less applicable deductions and
                  withholdings, which represents wages/benefits due, whether asserted in
                  Plaintiff’s Complaint or otherwise. Defendants shall pay this amount by
                  installment checks payable to “Gina Kase.” Defendants will report the entire
                  payment ($5,000.00) as gross wages on Plaintiff’s IRS Form W-2 for 2018
                  and 2019. The employer’s portion of payroll taxes, deductions, and withheld
                  federal income taxes will be deducted and paid by Defendants to the IRS and
                  the appropriate state taxing authorities.


3.   PAYMENT AND PAYMENT TIMING.

             a.      Defendants shall commence payment to Plaintiff within ten (10) days after
                     the court approves the settlement as a fair and reasonable resolution of a
                     bona fide dispute over a provision of the Fair Labor Standards Acts and
                     New York Labor Law, and Plaintiff’s other claims. Defendants agree to
                     commence payments of the Settlement Amount, as allocated in Exhibit A.
                     Defendants or their counsel shall deliver all payments to Plaintiff’s
                     counsel, Empire Justice Center (Attn: Elizabeth Nicolas, Esq.), 1 West
                     Main Street, Suite 200, Rochester, New York 14614.

             b.      If, for any reason, Defendants fail to make any of the payments required
                     by Section 2 and 3 of this Agreement, this Agreement, upon five business
                     days written notice of the default to Defendants’ attorney by first class
                     mail, shall be declared void and judgment will be entered jointly and
                     severally against all Defendants in the amount of $8,000.00 minus any
                     payments made and all other appropriate enforcement of this settlement
                     agreement.

             c.      In the event that Defendants make any monthly payment exceeding
                     $800.00, the remaining payments due, if any, will continue to be due on a
                     monthly basis pursuant to the timing schedule on Exhibit A; however,
                     such monthly payments shall be reduced to equal installments in amounts
                     proportionate with the remaining balance (such that the monthly amount
                     due will be the total balance remaining divided by the total months
                     remaining, per the timing schedule on Exhibit A).

4.   MUTUAL WAIVER AND RELEASE

     a.      Plaintiff, in consideration of other good and valuable consideration, releases and
             discharges Defendants from all actions, causes of action, suits, debts, dues, sums
             of money, accounts, reckonings, bills, bonds, specialties, contracts, covenants,


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               controversies, agreements, promises, variances, trespasses, judgments, damages,
               executions, claims and demands under common, equitable, federal, state or local
               law, and whether known or unknown, or whether asserted or which may have
               been asserted, related to or arising from Plaintiff’s employment by Defendants, or
               the facts and circumstances which gave rise to the civil action filed by Plaintiff,
               entitled Kase v. Serenity Homecare, Inc., et al., in the United States District
               Court, Western District of New York, Index No. 15 CV 6760 (CJS) from the date
               Plaintiff commenced employment with Defendants until the date of this release.

       b.      Defendants, in consideration of other good and valuable consideration, releases
               and discharges Plaintiff from all actions, causes of action, suits, debts, dues, sums
               of money, accounts, reckonings, bills, bonds, specialties, contracts, covenants,
               controversies, agreements, promises, variances, trespasses, judgments, damages,
               executions, claims and demands under common, equitable, federal, state or local
               law, and whether known or unknown, or whether asserted or which may have
               been asserted, related to or arising from Plaintiff’s employment by Defendants, or
               the facts and circumstances which gave rise to the civil action filed by Plaintiff,
               entitled Kase v. Serenity Homecare, Inc., et al., in the United States District
               Court, Western District of New York, Index No. 15 CV 6760 (CJS) from the date
               Plaintiff commenced employment with Defendants until the date of this release.

        5.       STIPULATION OF DISMISSAL WITH PREJUDICE. Upon completion of
execution and delivery of this Agreement and the payments set forth in Section 2, counsel for the
Parties shall file a Stipulation and Order of Dismissal with Prejudice and request that the Court
dismiss with prejudice Plaintiff’s Complaint, without costs or attorneys’ fees to either Party. The
Parties agree to submit any papers to the Court that are necessary to effectuate the dismissal of
the action and/or the full and effective release of all claims released herein; however, the Court
shall retain jurisdiction to enforce the terms of this Agreement.

        6.      MUTUAL NON-DISPARAGEMENT. The Parties agree that they will not
directly or indirectly make, or cause to be made, any written or oral statement or other
communication that is derogatory or disparaging to the other Party. This will not preclude the
Parties from making any good faith statements in the context of any judicial, administrative,
arbitration, mediation or other legal proceeding. Any party is allowed to make truthful statements
related to or concerning the Action.

       7.     RESPONSE TO INQUIRIES ON EMPLOYMENT.                          If a current or
prospective employer of Plaintiff contacts the Defendants seeking an employment reference, the
Defendants will only provide Plaintiff’s dates of employment and her position held with the
Defendants.

       8.       VOLUNTARY AGREEMENT. The Parties represent and warrant that they
entered into this Agreement voluntarily, of their own free will, without any pressure or coercion,
based on their own judgment and the advice of their own attorneys, and not in reliance upon
representations or promises made by anyone else other than those expressly contained in this
Agreement.



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        9.      SCOPE OF AGREEMENT. This Agreement constitutes the entire agreement
and understanding of the Parties and supersedes all prior oral and written agreements or
understandings related to the subject matter of this Agreement. The Parties reserve their rights as
to all matters not specifically covered by this Agreement. The terms of this Agreement may not
be modified except by a writing signed by all Parties. The Parties agree that this Agreement shall
be construed by and enforced in accordance with the laws of the State of New York without
regard to its conflicts of law provisions. Whenever possible, each provision of this Agreement
shall be interpreted in such a manner as to be effective and valid under applicable law.

         10.    GOVERNING LAW. This Agreement shall be governed, construed, and
enforced in accordance with the laws of the State of New York, without regard to principles of
conflict of laws. The venue for disputes between the Parties arising under this Agreement shall
lie in the United States District Court for the Western District of New York.

       11.      EXECUTION IN COUNTERPARTS. This Agreement may be executed in
multiple originals, each of which shall be considered as an original instrument, but all of which
together shall constitute one Agreement, and shall be binding upon the Parties. A photocopy or
facsimile of the original documents will have the same force and effect as the original.

        12.     SEVERABILITY. Each provision of this Agreement is severable and, if any
term or provision is held to be invalid, void, or unenforceable by a court of competent
jurisdiction or by an administrative agency for any reason whatsoever, such ruling shall not
affect the validity of the remainder of this Agreement.

        13.    APPLICABLE LAW AND VENUE. The Parties agree that the laws of the State
of New York shall apply, without regard to its conflict-of-laws principles. This Court shall retain
jurisdiction over the enforcement of this Agreement. If any action at law or in equity is brought
in the future to enforce or interpret the terms of this Agreement, the prevailing party shall be
entitled to recover, prior to trial, at trial and on appeal, reasonable attorneys’ fees, costs and
disbursements, in addition to any other relief that may be granted.

                                    [signature page to follow]




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_________________________   _______________________
GINA KASE                   DATE


_________________________   _______________________
NORENE RYAN                 DATE




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                   EXHIBIT A
                      Payment Schedule
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Gina Kase v. Serenity Homecare, Inc. and Norene Vorhis Payment Schedule (15-CV-6760)

Check          Wages Check         Attorney/Court Fees     Total Monthly
Distribution                       Check                   Payment
Month 1                            $800.00                 $800.00
Month 2                            $800.00                 $800.00
Month 3        $625.00             $175.00                 $800.00
Month 4        $625.00             $175.00                 $800.00
Month 5        $625.00             $175.00                 $800.00
Month 6        $625.00             $175.00                 $800.00
Month 7        $625.00             $175.00                 $800.00
Month 8        $625.00             $175.00                 $800.00
Month 9        $625.00             $175.00                 $800.00
Month 10       $625.00             $175.00                 $800.00


TOTAL          $5,000.00           $3,000.00               $8,000.00
